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                                   UNITED STATES DISTRICT COURT
                                  CENTRAL DISTRICT OF CALIFORNIA

Display Technologies, LLC                                  CASE NUMBER


                                        PLAINTIFF(S)
                                                                        18-CV-07244-VAP (PLAx)
                v.
JVCKenwood USA Corporation                                     ORDER TO TRANSFER PATENT CASE
                                                                TO THE PATENT PILOT PROGRAM
                                      DEFENDANT(S)



       IT IS HEREBY ORDERED that the above-entitled case be transferred to the Patent Pilot Program
pursuant to General Order 11-11 for all further proceedings.


August 21, 2018
Date                                                         United
                                                             Unit
                                                                ted                                      Judge
                                                                  ed States District Judge / Magistratee Judg




                                   NOTICE TO COUNSEL FROM CLERK

        This case has been reassigned to Judge       George H. Wu                          for all further
proceedings. On all documents subsequently filed in this case, please substitute the initials        GW
after the case number, so that the case number will read 2:18-cv-07244 GW(PLAx)                  . This is very
important because documents are routed to the assigned judge by means of these initials.

       Traditionally filed subsequent documents must be filed at the G Western G Southern G Eastern
Division. Failure to file at the proper location will result in your documents being returned to you.




    ✔ Previous Judge
cc: G
CV-128 (09/11)         ORDER TO TRANSFER PATENT CASE TO THE PATENT PILOT PROGRAM
